 Case 7:19-cv-00465-GEC Document 2 Filed 06/24/19 Page 1 of 4 Pageid#: 3
                                                                           CLERK'S OFFI
                                                                                      C E U.S.DISX CY RT
                                                                                  AT RG NOKE,VA
                                                                                       FILED

                     IN TH E UN ITED STATES DISTRICT                                JUN 2# 2215
                     C O URT W ESTERN D ISTRICT O F W R G IN G                    JUL C. UDLEX CLERK
                                                                              BY:
              COG LM NT UNDER CIW L RIGHTS ACT 42U.S.C.j1983                                L

                                                 ActionNumb  er -kq V S.DistrictCourt)
                                                         (TobesuppliedsytheClerk.U.
Please fi11outthiscom plaintfol'
                               m completely. The Court'needsthe inform ation requested in
orderto assure thatyourcom plgintisprocessed asquickly aspossible and thatallyourclaim s
areaddreqsed. Please print/write legibly ortype.     '

1.     PARTIES

A.     Plaintiff:
1.    (a) W alterL.Johnson
            (Name)
      (b) 1701NorthAvenue,NE
            (Address)
           Roanoke,VA 24012-5437

PlalntiffM UST keep theClerk ofCourtnotiled ofany changeofaddress.Ifp'Iaintiff
fails to keep the Clerk inform ed ofsuch changes,thisaction m ay be dism issed.


Plaintiffis advised thatonly persons acting underthe color ofstate Iaw are proper
defendantsunder Section 1983. The Com m onw eaIth ofV irginia is im m une under the
Eleventh Am endm ent. Liability under Section 1983 requirespersonalaction by the
defendantthatcaused you harm .




B.     Defendantts):
      (a) DonaldCaldwell     '                  (b) Roanoke.VA Commonwea1thAtty
            (Name)                                    (Title/lobDescript'
                                                                        ion)
      (o) 3l5-C ChurchAvenue
            (Address)
           Roanoke,VA 24016
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4

          (a) DouglasHubert                          (b) VA StatePolice,#5536
                 (Name)                                    (Title/lobDescription)
          (c) 3775W estM ainStreet
                (Address)
                Salem ,VA 24153

    3.    (a)                                       (b)
                  (Name)                                    (Title/lobDescription)
          (c)
                  (Address)

    lfthere are additionaldefendants,please listthem on aseparate sheetofpaper. Provide al1
    identifying inform ation foreach defendantnam ed.

    PlaintiffM UST provideaphysicaladdressfordefendantts)inorderfortheCourttoserve
    the com plaint. Ifplaintiffdoesnotprovide a physicaladdressfor a defendant,thatperson
    m ay be dism issed asa party to this action.

    II.   PREW OU S LAW SUITS

    A.    H ave you everbegun otherlaw suits in any state orfederalcourtrelating
          toyourimprisonment? Yes( 1 No(X)
    B.    lfyouransw erto GW ''isY es:Y ou m ustdescribeany law suit,whethercurrently
          pending orclosed,inthe spacebelow. Ifthereismorethan onelawsuit,you
          m ustdescribe each lawsuiton anothersheetofpaper,using the sam e outline,
          and attach hereto.

           1.     Partiesto previouslaw suit'
                                            .

          Plaintiffts)
          Defèndantts)



          2.      Court(iffederalcoult namethedistrict;ifstatecoult namethecounty);


          3. D ate law suittiled:

                D ocketnum ber'
                              .                       ,
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      5. N am e ofJudge to whom case w asassigned:



            Disposition(W ascasedismissed? Appealed? lsitstillpending? W hatreliefwas
        .
            granted,ifany'?):




HI.   STATEG NT O F TH E CLM M
      State here thefactsofyourcase.D escribehow each defendantis involved and how you were harm ed
      by theiraction. Also include the dates,placesofevents,and constitutionalam endm entsyou allege
      w ere violated.
      lfyou intend to allege severalrelated claim s,num berand setforth each claim in a separate
      paragraph. A ttach additionalsheetsifnecessary.
       On 13September2013iwasservedwithasearchwarrant,(copyhereinattached)andmany

       item swere rem oved from m y hom eand vehicles.Fourcom putersrem oved were notm ine,

       rathertc
              heybelongedtopeoplethathadbroughtthem to meforrepair.On 28July 2017
               -




        DouglasHuàertunderthedirectionofDonaldCaldwelldestroyedalloftheseizedproperty

        underthe colorof1aw with the attached destruction order.Thisaction violated m y rights

        underthedue processclause of5+ and 14th A dm endm entsofthe United States.constitution.

        1wasneveradvisedthatproceedingshadbeen undertaken to deprivem eofmypropeo

        so thaticould refute any and a1lsuch claim sin acourtoflaw.In the courseofthesixyears

        sincethe search warrantw asserved,no indictm entnorchargesw erelevied thatneeded to

        to be defended.IF asalleged,illegalcontentwasfound,whyw asinotprosecuted? Iallege

        thecom m onwealth'sattorney and the statepolice conspired togetherto deprivem eofm y

        property asavindictive and m alicousactbecauseIcould notbe charged.
Case 7:19-cv-00465-GEC Document 2 Filed 06/24/19 Page 4 of 4 Pageid#: 6




IV. R ELIEF




TheplaintiffwantstheCöurtto:(checkthoseremediesyouseek)
    X   Awardmoney damagesintheamountof$ 30,000.00
    X Grantinjunctive.
                     reliefby Removalfrom officeallpartiesinvolved.
    X   Other $30,000punitivedamagesforlossofuseofequipm ent,apd fam ilyphotosdestroyed.
v       CO NSEN T
        CONSENT TO TRJAL BY A MAQISTRATE JUDGE:Thepartiesareadvisedoftheirright,.
        pursuantto28U.S.C.j636(c),tohaveaU.S.M agistrateJudgepresideoveratrial,withappealto
        theU .S.CourtofAppealsfortheFourth Circuit.


        DoyouconsenttoproceedbeforeaU.S.M agistrateJudge:Yesgx q No( ).Youmay
        consentatany tim e;however,an early consentisencouraged.


V1.     SIG NA TU RE

        Ifthereism orethan oneplaintift each plaintiffmustsignforhimselforherself.

        Signedthis      4th       dayof    June                ,2019       .

        Plaintiff             '                    , alterL.Johnson
